                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
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                                          )
SEAH STEEL CORPORATION,                   )
                                          )
                   Plaintiff,             )
                                          ) Consol. Court No. 20-00150
                   v.                     )
                                          )
UNITED STATES,                            )
                                          )
                   Defendant,             )
                                          )
                   and                    )
                                          )
UNITED STATES STEEL CORPORATION,          )
MAVERICK TUBE CORPORATION, TENARIS )
BAY CITY, INC., IPSCO TUBULARS INC., and )
VALOUREC STAR L.P.,                       )
                                          )
                   Defendant-Intervenors. )
__________________________________________)

                   DEFENDANT’S RESPONSE TO COURT REQUEST

       Pursuant to the Court’s letter of May 13, 2021, the United States, files this response

regarding whether this action should be stayed. For the reasons discussed in our motion to stay

in Court No. 19-00086 (see Dkt. No. 105), we respectfully submit that proceedings in this case

likewise be stayed pending a decision by the U.S. Court of Appeals for the Federal Circuit

(Federal Circuit) in litigation concerning a prior administrative review of the same antidumping

duty order on certain oil country tubular goods from the Republic of Korea (Korea). See

NEXTEEL Co. v. United States, Federal Circuit Appeal No. 2021-1334 (NEXTEEL).

       In short, similar to Court No. 19-00086, it is in the interests of judicial economy and

efficiency to stay this case pending resolution of NEXTEEL. Because of the significant overlap

in the issue of whether a particular market situation existed in Korea between the two cases, the
Federal Circuit’s ruling in NEXTEEL is likely to have an impact on this case. Moreover, staying

this case may obviate the need for additional briefing and, therefore, avoid the expenditure of

judicial and party resources.



                                             Respectfully submitted,

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                                             Acting Assistant Attorney General

                                             JEANNE E. DAVIDSON
                                             Director

                                             s/Claudia Burke
                                             CLAUDIA BURKE
                                             Assistant Director
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May 17, 2021                                 Attorneys for Defendant




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